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Case 2: OO- -c\/- 07678- ER- CW Document 30 Filed 12/28/00 Pa eiPdUm EB.€ |D #:42

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DEFUT\' CL£RK
CIVIL MINUTES - 'GENERAL

Case NO. CV 00-7678-ER(CW) Date: December 28, 2000

Title: Henry 0knyansky a.k.a. Gennady Arzhanik v. Glenn Mueller
(Warden)

PRESENT: HON. CARLA WOEHRLE, UNITED STATES MAGISTRATE JUDGE

JANET ARGARIN, NLA

Deputy Clerk Ccurt Reper:ter
ATTORNEYS PRESENT FOR PETITIONER: ATTORNEYS PRESENT FOR RESPONDENT(S):
N/A N/A

PROCEEDINGS (IN CHAMBERS)

l. The Ceurt notes petitioner's notice cf change cf address
filed December 21, 2000. The Clerk cf the Court is ORDERED to
correct the docket to reflect petitioner's current address, as
given below.

2. The Clerk shall also reserve the NOtiCe Of Filinq of
Magistrate Judge’ s Report and Recommendation, and the'RepQrt and
Recommendation, On petitioner at this new address. ;“_w j§§;““~

cc: Henry Oknyansky
a.k.a. Gennady Arzhanik
INS # 72860975
2001 Seaside Avenue
San Pedro, CA 90731

Deborah J. Chuanq

Deputy Attorney General

300 South Spring Street, Suite 50
LOs Angeles, CA 90013~1204

 

MINUTES FORM 11 Initials of Deputy Clerk
CIVIL-GEN

